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       Instructions for Completing
       the Business Economic Loss
               Claim Form
              (Purple Form)




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                          1. Instructions for Submitting a Business Economic Loss Claim
        To make a Business Economic Loss Claim under the Deepwater Horizon Economic and Property Damages
        Settlement Agreement (the “Settlement”) for damages arising from the Deepwater Horizon Incident on April 20, 2010
        (the “Spill”), you must complete and submit this Claim Form and all documentation required by the Settlement
        (“Supporting Documentation”) to the Claims Administrator on or before April 22, 2014, or six months after the Effective
1.      Date of the Settlement, whichever is later.
        The Business Economic Loss Claim is for businesses (including those reporting on Form 1040 Schedules C, E, or F)
        that assert economic loss due to the Spill. Commercial Fishermen, Seafood Vessel Owners, Seafood Boat Captains,
        Seafood Crew, and Oyster Leaseholders who want to make a claim for economic losses relating to Seafood must use the
        Seafood Compensation Program Claim Form (Yellow Form) and not this Business Economic Loss Claim Form.
        Do not use this Claim Form if you seek payment only for bodily injury arising from the Deepwater Horizon Incident. To
        get more information about the Medical Benefits Settlement and to determine whether you are eligible for benefits
2.
        under that settlement, visit www.deepwaterhorizonsettlements.com or call 1-877-545-5111. For TTY assistance, call 1-
        800-877-8973.
        If you have access to a computer with an internet connection, it will be far easier for you to fill out and submit your
        Claim Form online, rather than on this paper Claim Form. The online claim process will guide you through the specific
        questions you need to answer, and will instruct you about the specific Supporting Documentation you must submit,
3.
        based on the answers you enter as you go along. Go to www.deepwaterhorizonsettlements.com to submit a claim
        online. If you do not have access to the internet, you may visit a Claimant Assistance Center for assistance with
        submitting a claim in person. Section 5 of this Instructions Booklet lists all the Claimant Assistance Centers.
        If you choose to fill out a paper Claim Form, be sure to read the entire Claim Form and fill out every section needed to
        assert your claim, and also read Section 4 of this Instructions Booklet to find out what Supporting Documentation you
4.
        have to submit along with your claim. If you need more space to answer any questions, put the answer on a separate
        page and attach it to your Claim Form.
        As you complete your Claim Form and review the list of required Supporting Documentation, you may come across
        words that are unfamiliar to you. Section 2 of this Instructions Booklet defines many terms that are found in the Claim
5.
        Form or in the Supporting Documentation descriptions. Consult these definitions if you need help understanding the
        meaning of a particular term.
        Any term used in the Claim Form or in this Instructions Booklet that is defined in the Settlement will have the meaning
6.      set forth in the Settlement. If there is any conflict between the terms in the Settlement and the terms in the Claim Form
        or in this Instructions Booklet, the meaning set forth in the Settlement controls.
        Submit your Claim Form and all required Supporting Documentation by dropping it off at a Claimant Assistance Center
        or by sending it to the Claims Administrator in one of these ways:
                                 Regular Mail:
                  Deepwater Horizon Economic Claims Center
                                                                                                     Fax:
                                 P.O. Box 1439
                                                                                                (888) 524-1583
                           Hammond, La 70404-1439

                 Overnight, Certified or Registered Mail:
7.                                                                                        Email Attachment:
                  Deepwater Horizon Economic Claims Center
                                                                         ClaimForms@deepwaterhorizoneconomicsettlement.com
                           c/o Claims Administrator
                          42548 Happy Woods Road
                             Hammond, LA 70403
        Your claim will be reviewed more quickly if you submit all of your Supporting Documentation along with your Claim
        Form. If you need to submit any Supporting Documentation separately, put your name and Tax Identification Number
        on a cover sheet or on the first page of what you submit, so the Claims Administrator can properly place the documents
        in your file.
        If you have any questions about how to submit your claim, go to www.deepwaterhorizonsettlements.com, call toll free
8.      at 1-866-992-6174, or visit a Claimant Assistance Center. Do not call the Court or any Judge’s office to ask questions
        about how to complete this Claim Form, what documentation is required, or the status of your claim, in general.




 Instructions for Completing the Business Economic Loss Claim Form                                                      Page 3


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                                                        2. Definitions
        Benchmark Period: The pre-Spill time period that the claimant chooses as the baseline for measuring its historical
        financial performance. The claimant may select among the following Benchmark Periods: 2009; the average of 2008-
1.
        2009; or the average of 2007-2009, provided that the range of years selected by the claimant will be utilized for all
        Benchmark Period purposes.
        BP-branded Fuel Entities and Employees: BP-branded Fuel Entities and Employees are businesses that sell or
2.      market fuel under the BP brand and individuals who were employees of those businesses during the time period from
        April 20, 2010, through April 16, 2012.
        Charter Fishing Operation: Vessel owners, captains, and deckhands that carry Passengers for Hire to engage in
3.
        Recreational Fishing.
        Claimant Accounting Support Services: Reasonable and necessary accounting fees related to claims preparation,
4.      either directly to the claimant, or counsel if individually represented (and/or his or her or its accountant) and/or through
        services made available by and through Class Counsel.
        Claiming Facility: A separate and distinct physical location of a Multi-Facility Business that submits a claim as part of
5.
        the Deepwater Horizon Economic and Property Damages Settlement.
        Commercial Fisherman: A Natural Person or entity that holds a commercial fishing license issued by the United
6.      States and/or the State(s) of Alabama, Florida, Louisiana, Mississippi and/or Texas, and derives income from catching
        and selling Seafood that he or she caught.
        Commercial Wholesale or Retail Dealer A: An entity or Natural Person that holds a commercial wholesale or retail
        dealer license issued by the State(s) of Alabama, Florida, Louisiana, Mississippi and/or Texas, for which 75% or more of
7.      the 2009 cost or weight in pounds of the product it purchases constitutes Seafood purchased directly from a
        Commercial Fisherman or Landing Site, and re-sells to Primary Seafood Processors, Seafood Distributors,
        Seafood Wholesalers, and Seafood Retailers.
        Commercial Wholesale or Retail Dealer B: An entity or Natural Person that holds a commercial wholesale or retail
        dealer license issued by the State(s) of Alabama, Florida, Louisiana, Mississippi and/or Texas, for which less than 75%
8.      of the cost or weight in pounds of the product it purchases constitutes Seafood purchased directly from a
        Commercial Fisherman or Landing Site, and re-sells to Primary Seafood Processors, Seafood Distributors,
        Seafood Wholesalers, and Seafood Retailers.
        Compensation Period: A period of time selected by the claimant to include three or more consecutive months
9.
        between May and December 2010.
        Defense Contractors/Subcontractors: Businesses and employers that derive at least 50% of their annual revenue
10.
        from contracts with the United States Department of Defense.
        Economic Loss Class: Natural persons or entities suffering an economic loss which was a result of the Deepwater
11.
        Horizon Incident, who are not otherwise excluded from participating in the Settlement administration.
        Economic Loss Zones A, B, C, and D: To determine in which Economic Loss Zone your business is located, go online
12.
        to www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a Claimant Assistance Center.
        Effective Date: The date that the Settlement becomes effective, which is after the Court grants “final approval” of the
13.
        Settlement and any appeals are resolved.
        Facility: A separate and distinct physical location of a Multi-Facility Business at which the business performs or
14.
        manages its operations.
        Failed Business: An entity that began operations before November 1, 2008, and that, after May 1, 2010, but before
        December 31, 2011, either (a) ceased operations and wound down, or (2) entered bankruptcy (through the filing of a
15.
        petition for bankruptcy protection in a court of competent jurisdiction), or (3) otherwise initiated or completed a
        liquidation of substantially all of its assets.
        Financial Institutions: This category of businesses and employers includes, by way of example: commercial banks;
        savings institutions; credit card issuers; credit insurers; factors or other sales finance entities; financial or investment
        advisers or portfolio managers; fund managers; investment banking entities; lending institutions; real estate mortgage
        or lending entities; brokers or dealers of securities, commodities, commodity contracts or loans; securities or
        commodities exchanges; entities serving as custodians, fiduciaries or trustees of securities or other financial assets; or
16.
        entities engaged in other financial transaction intermediation, processing, reserve or clearinghouse activities. The
        following are not excluded as Financial Institutions: standalone ATMs, credit unions, pawn shops, businesses engaged
        predominantly in making payday loans or paycheck advances, and businesses that sell goods and services and offer
        financing on these purchases to their customers. A complete list of excluded Financial Institutions by NAICS code is
        available in Exhibit 18 of the Settlement Agreement.
 Instructions for Completing the Business Economic Loss Claim Form                                                         Page 4


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        Funds, Financial Trusts, and Other Financial Vehicles: This category of business and employers includes, by way
        of example: public-open end investment funds; investment funds; real estate investment trusts; REMICS; mutual
        funds; money market funds; derivatives; health and welfare funds; insurance funds; pension funds; financial trusts;
        and special purpose financial vehicles. The following are not excluded as Funds, Financial Trusts, and Other Financial
17.     Vehicles: successions, estates, testamentary trusts, trusts of Natural Persons, bankruptcy estates, limited liability
        companies, corporations, Sub-Chapter “S” corporations, partnerships, limited partnerships, joint ventures, and any other
        businesses or juridical Entities, shall not be excluded as Funds, Financial Trusts, and Other Financial Vehicles solely by
        reason of their form of legal or juridical structure or organization. A complete list of excluded Funds, Financial Trusts
        and Other Financial Vehicles by NAICS code is available in Exhibit 18 of the Settlement Agreement.
        Gaming Entity: This category of business and employers includes, by way of example: casinos; casino hotels; off-
        track betting parlors; racetracks and other gambling establishments. The following are not excluded as Gaming
18.     Entities: bingo parlors; and video gaming at bars, bingo parlors, hotels, off-track betting parlors, racetracks, restaurants
        and truck stops. A complete list of excluded Gaming Entities by NAICS code is available in Exhibit 18 of the Settlement
        Agreement.
        Gulf Coast Areas: The States of Louisiana, Mississippi, and Alabama; the counties of Chambers, Galveston, Jefferson
        and Orange in the State of Texas; and the counties of Bay, Calhoun, Charlotte, Citrus, Collier, Dixie, Escambia, Franklin,
        Gadsden, Gulf, Hernando, Hillsborough, Holmes, Jackson, Jefferson, Lee, Leon, Levy, Liberty, Manatee, Monroe,
19.
        Okaloosa, Pasco, Pinellas, Santa Rosa, Sarasota, Taylor, Wakulla, Walton, and Washington in the State of Florida,
        including all adjacent Gulf waters, bays, estuaries, straits, and other tidal or brackish waters within the States of
        Louisiana, Mississippi, Alabama or those described counties of Texas or Florida.
        Insurance Entities: This category of business and employers includes by way of example: insurance carriers issuing
        disability, health, life, medical, property and casualty, title or other insurance; reinsurers; insurance agencies and
20.     brokerages; underwriting agencies or organizations; claims adjusters and processors; third-party insurance or fund
        administrators; or other insurance-related businesses. A complete list of excluded Insurance Entities by NAICS code is
        available in Exhibit 18 of the Settlement Agreement.
        Landing Site: A business at which boats first land their catch, including facilities for unloading and handling Seafood.
21.     A Landing Site may also include the provision of ice, fresh water, fuel, and boat repair or service in connection with the
        landing of Seafood.
        Moratoria Loss: This category includes any loss whatsoever caused by or resulting from federal regulatory action or
        inaction directed at offshore oil industry activity – including shallow water and deepwater activity – that occurred after
        May 28, 2010, including the federal moratoria on offshore permitting and drilling activities imposed on May 28, 2010,
        and July 12, 2010, and new or revised safety rules, regulations, inspections, or permitting practices. Claims of Natural
22.
        Persons and Entities for Moratoria Losses shall be subject to a special review for the evaluation of economic loss claims
        for potential moratoria losses. All Natural Persons and Entities are barred from recovery for Moratoria Losses. A
        complete list of Industry Types Subject to Review by Claims Administrator for Potential Moratoria Losses is available in
        Exhibit 19 of the Settlement Agreement.
        Multi-Facility Business: A business entity that, during the period April 1, 2010, through December 31, 2010,
23.
        maintained Facilities in more than one location and had at least one Facility within the Gulf Coast Areas.
        NAICS Code: NAICS is an abbreviation for North American Industry Classification System. It is a six-digit code used
24.     by various agencies to classify business establishments according to the primary revenue-producing business activity
        conducted by that entity. NAICS is a self-assigned system and NAICS codes are not assigned by a certain agency.
25.     Non-local Customers: Customers who reside more than 60 miles from a business’s location.
        Non-rural Claimant: A business that is not located in an area outside an Urban Area or Urban Cluster, as defined by
26.
        the U.S. Census Bureau’s classification.
        Oil and Gas Industry: This category of businesses and employers includes firms engaged in the following activities,
        by way of example: extracting crude petroleum, natural gas, or other hydrocarbons; drilling wells; preparing,
        maintaining or constructing petroleum or natural gas well-sites or other mineral extraction sites; mining; maintaining or
        constructing petroleum or natural gas pipeline or distribution facilities; pipeline distribution of crude petroleum, refined
        petroleum, oil, or natural gas; petroleum or natural gas refining or other mineral refining and/or manufacturing;
27.     manufacturing petroleum lubricating oil and grease, petrochemical products, or other petroleum and coal products or
        chemical products derived from extracted minerals; merchant wholesaling of construction and mining (except oil well)
        machinery and equipment; wholesale distribution of oil well machinery, equipment, and supplies; wholesale distribution
        of petroleum, petroleum products, other extracted minerals, chemical products produced from extracted or refined
        minerals, petroleum bulk stations and terminals; petroleum and petroleum products merchant wholesalers. A complete
        list of excluded Oil and Gas Industry entities by NAICS code is available in Exhibit 17 of the Settlement Agreement.

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        Primary Seafood Industry: Entities and Natural Persons that satisfy the definitions of Landing Site, Commercial
        Wholesale or Retail Dealer A, and Primary Seafood Processor, and Natural Persons employed by a Landing
28.
        Site, Commercial Wholesale or Retail Dealer A, or Primary Seafood Processor, including Seafood Dockside
        Workers.
        Primary Seafood Processor: An entity or Natural Person that receives and prepares Seafood purchased from a
        Commercial Fisherman, Landing Site, or Commercial Wholesale or Retail Dealer including, but not limited to:
29.
        cleaning, cooking, canning, smoking, salting, drying or freezing, grading by size, packing, and storing Seafood for
        shipment.
        Real Estate Developers: This category of business and employers includes any Natural Person or Entity that
        develops commercial, residential or industrial properties, including but is not limited to: any Entity developing an entire
30.
        subdivision (as defined by the law of the state in which the parcel is located) of Real Property, including condominiums
        with multiple residential units and/or a residential subdivision with contiguous home sites and homes.
        Rural Claimant: A business located in an area outside an Urban Area or Urban Cluster, as defined by the U.S. Census
31.
        Bureau’s classification.
        Seafood: Fish and shellfish, including shrimp, oysters, crab, and finfish, caught in the Specified Waters of the Gulf of
32.
        Mexico. Menhaden is not included in the definition of Seafood.
        Seafood Distributor: An entity or Natural Person that purchases Seafood in bulk quantities and sells it to retailers
33.
        such as restaurants, fish shops, and supermarkets; also called a Seafood Wholesaler.
34.     Seafood Dockside Workers: A Natural Person performing services for a Landing Site.
        Seafood Retailers: An entity that is an end user of Seafood such as a restaurant, fish market, or super market for
35.
        which 25% or more of total food costs for 2009 constitute Seafood.
        Seafood Wholesaler: An entity or Natural Person that purchases Seafood in bulk quantities and sells to retailers
36.
        such as restaurants, fish shops, and supermarkets; also called a Seafood Distributor.
        Secondary Seafood Industry: Entities that satisfy the definitions of Commercial Wholesale or Retail Dealer B,
        Secondary Seafood Processor, Seafood Wholesaler or Distributor, and Seafood Retailer, and Natural Persons
37.
        employed by a Commercial Wholesale or Retail Dealer B, Secondary Seafood Processor, Seafood
        Wholesaler or Distributor, or Seafood Retailer.
        Secondary Seafood Processor: An entity or Natural Person that purchases Seafood from a Primary Seafood
38.     Processer in order to add further value including, but not limited to: cleaning, cooking, canning, smoking, salting,
        drying or freezing, grading by size, packing, and storing Seafood for shipment.
        Start-Up Business: A business with less than eighteen months of operating history at the time of the Spill (business
        began on or after November 1, 2008). These businesses must file using the Start-up Business Economic Loss Claim
39.
        Form (Gray Form) unless the business began operations after November 1, 2008, but before January 1, 2009, selects
        2009 as the Benchmark Period, and can provide complete documentation.
        Tourism: Tourism includes businesses that provide services such as attracting, transporting, accommodating, or
        catering to the needs or wants of persons traveling to, or staying in, places outside their home community. To
40.
        determine if your business falls within the Tourism Definition, go online to www.deepwaterhorizonsettlements.com, call
        toll free at 1-866-992-6174, or visit a Claimant Assistance Center.
        Variable Expenses: These are costs that change in proportion to the activity of a business, such as 1) the Variable
        Costs identified in Exhibit 4D of the Settlement; 2) the variable portion of salaries, calculated as described in the
        definition of Fixed and Variable Payroll Expenses in Exhibit 4C of the Settlement; and 3) the variable portion of the Costs
41.
        of Goods Sold, calculated by excluding salary costs (as described in the definition of Fixed and Variable Payroll Expenses
        in Exhibit 4C of the Settlement) and fixed expenses included within Cost of Goods Sold, including Amortization,
        Depreciation, Insurance Expenses, and Interest Expense and Contract Services.
        Variable Profit: This is calculated for both the Benchmark Period and the Compensation Period as follows: 1) Sum
42.     the monthly revenue over the period; 2) Subtract the corresponding Variable Expenses from revenue over the same
        time period.




 Instructions for Completing the Business Economic Loss Claim Form                                                        Page 6


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  3. Detailed Instructions for Answering the Business Economic Loss Claim Form Questions
The following instructions will take you step-by-step through the Business Economic Loss Claim Form. The
sections and numbers in these instructions refer to the same sections and numbers in the Claim Form.

                                                        A. Claimant Information

 1.      Business Name                    Print the full name of the business in the box labeled “Business Name.”
                                          If you file your business’s taxes using your personal Social Security Number or
         Social Security Number
                                          Individual Taxpayer Identification Number, provide your Social Security Number or
                   or
                                          Individual Taxpayer Identification Number by putting one digit in each space. There
         Individual Taxpayer
                                          are nine spaces provided in this format: XXX-XX-XXXX.
 2.      Identification Number
                   or
                                          If you file your business’s taxes using an Employer Identification Number, provide
         Employer Identification
                                          your business’s Employer Identification Number by putting one digit in each space.
         Number
                                          There are nine spaces provided in this format: XX-XXXXXXX.
                                          If you filed a claim with the GCCF, your GCCF Claimant Number will also be your
                                          Claimant Number in the Deepwater Horizon Settlement Program. If you did not file a
                                          claim with the GCCF, you will receive a new nine-digit Claimant Number when you file
                                          your initial Registration Form with the Deepwater Horizon Settlement Program.

                                          If you filed a claim with the GCCF, check the box next to “GCCF Claimant Number”
                                          and write your seven-digit Claimant Number in the spaces provided. Write one
                                          number in each space.
 3.      Claimant Number
                                          If you already have a Deepwater Horizon Settlement Program Claimant Number,
                                          check the box next to “Deepwater Horizon Settlement Program Claimant Number”
                                          and write your nine-digit Claimant Number in the spaces provided. Write one number
                                          in each space.

                                          If you do not already have a Deepwater Horizon Settlement Program Claimant
                                          Number and you did not file a claim with the GCCF, leave this question blank.




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                              B. Information Required for a Business Economic Loss Claim

If you are asserting a Business Economic Loss Claim for more than one Facility and need additional pages, photocopy Sections
B and C of the Claim Form before completing them and attach the copy to the Claim Form for submission. Make one copy for
each additional Facility.
                                          You must determine if your business falls into any of the following categories:

                                               (a) Financial Institution.
                                               (b) Fund, financial trust, or other financial vehicle.
                                               (c) Gaming.
                                               (d) Insurance.
                                               (e) Oil and gas industry.
         You cannot make an
                                               (f) Defense contractor or subcontractor.
         economic loss claim for a
                                               (g) Real estate development.
  1.     business that falls into
                                               (h) Selling or marketing BP-branded fuel at anytime from April 20, 2010, through
         any of the categories
                                                   April 16, 2012.
         listed below.
                                          If any of those above categories apply, then you must check the box next to the
                                          applicable category.

                                          If you check the box next to any of those categories, your business is not eligible to
                                          file an Economic Loss Claim, and you should not complete or submit this Claim Form.
                                          If you did not check the box next to any of the descriptions, proceed to Question 2.
         During the period from           Check “Yes” if your business operated in more than one separate and distinct physical
         April 1, 2010, through           location from April 1, 2010, through December 31, 2010. Check “No” if your business
         December 31, 2010, did           only operated in one location from April 1, 2010, through December 31, 2010. Check
  2.     your business maintain           “No” if your business only operated in one location from April 1, 2010, through
         more than one separate           December 31, 2010, but subsequently began operations at other Facilities.
         and distinct physical
         location?                        If you check “No” for this question, go to Question 7.
                                          To answer this question, you will need to know the address of your business’s
         Is your business’s               headquarters. Identify the location of your business’s headquarters on the map
         headquarters located             provided in Exhibit 22 of the Settlement Agreement. Check “Yes” if your business’s
  3.
         within the Gulf Coast            headquarters are located within the Gulf Coast Areas as designated on the map.
         Areas?                           Check “No” if your business’s headquarters are located outside of the Gulf Coast
                                          Areas.
                                          To answer this question, you will need to know all of the addresses of your business’s
                                          Facilities. Identify the locations of your business’s Facilities on the map provided in
         Are all of your business’s
                                          Exhibit 22 of the Settlement Agreement. Check “Yes” if all of your business’s
  4.     Facilities located within
                                          Facilities are located within the Gulf Coast Areas as designated on the map. Check
         the Gulf Coast Areas?
                                          “No” if one or more of your business’s Facilities are located outside of the Gulf Coast
                                          Areas.
                                          To answer this question, you will need to know how your business maintains its
         Does your business
                                          financial records. Check “Yes” if your business maintains separate profit and loss
         maintain separate profit
  5.                                      statements for each Facility that is submitting a claim. Check “No” if your business
         and loss statements for
                                          maintains consolidated profit and loss statements for its Facilities, meaning that there
         each Claiming Facility?
                                          are not individual profit and loss statements for each Claiming Facility.




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                                         A Multi-Facility Claim is a consolidated claim submitted for one business entity that
                                         has multiple Facilities. If you check “Yes” to this question, you are indicating that you
                                         are submitting single, consolidated Claim for all of your business’s Facilities that are
                                         located within the Gulf Coast Areas. If you wish to file a claim for each Facility
        Is your business                 separately, check “No.” You may not file a consolidated Claim for only a subset of
        submitting a claim for all       the Facilities located within the Gulf Coast Areas.
6.
        Facilities located within
        the Gulf Coast Areas?            If you check “Yes” for Question 3, you may file a consolidated claim for all Facilities
                                         or you may elect to file individual claims for each Claiming Facility separately. If you
                                         check “No” for Question 3, you must provide information on a Facility-by-Facility
                                         basis, but you may send in each of those claims together to facilitate efficient
                                         processing.
                                         For businesses with just one location, this is the address of the business.

                                         For consolidated claims of a Multi-Facility Business with headquarters in the Gulf
                                         Coast Areas, this is the address of the corporate headquarters; otherwise this is the
        What is the address of
7.                                       address of each Facility.
        your business?
                                         Provide the Business Name, Street, City, State and Zip Code. Provide the Parish or
                                         County, if applicable and if you know this information. Provide the phone number to
                                         this business location.
                                         To determine the Economic Loss Zone where your business is located, go online to
                                         www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a
        In which Economic Loss
                                         Claimant Assistance Center. For consolidated claims of a Multi-Facility Business use
8.      Zone is your business
                                         the address of the corporate headquarters; for single location Facility use the address
        located?
                                         of the Facility. Check the box next to the Economic Loss Zone in which your business
                                         is located.
                                         NAICS is an abbreviation for North American Industry Classification System. It is a
                                         six-digit code used by various agencies to classify business establishments according
        Provide the NAICS (North         to the primary revenue-producing business activity conducted by that entity. NAICS
        American Industry                is a self-assigned system and NAICS codes are not assigned by a certain agency.
        Classification System)
9.      Code for your business           To answer this question, go to www.census.gov/naics and you can search for your
        that forms the basis of          code. Describe the nature of your business in the area below this question on the
        your Economic Loss               Claim Form.
        Claim.
                                         Consult the definition in Section 2 above to determine if your business meets the Oil
                                         & Gas Industry definition.
        In 2009, did your                Check “Yes” if your business provided significant services, goods, and/or supplies to
        business provide                 businesses in the offshore Oil & Gas Industry in the Gulf of Mexico. Check “No” if
        significant services,            your business did not provide significant services, goods, and/or supplies to
10.     goods, and/or supplies to        businesses in the offshore Oil & Gas Industry in the Gulf of Mexico. The Claims
        businesses in the offshore       Administrator considers that an entity provided “significant” services, goods, and/or
        Oil & Gas Industry in the        supplies to businesses in the offshore oil and gas industry in the Gulf of Mexico in
        Gulf of Mexico?                  2009 if 33.00% or more of its 2009 net revenue was derived from such activities.
        Has your business ceased
                                         If your business either failed, declared bankruptcy, or liquidated substantially all of its
        operations, declared
                                         assets between May 1, 2010, and December 31, 2011, stop filling out this Claim
11.     bankruptcy or liquidated
                                         Form and submit the Failed Business Economic Loss Claim Form (Red
        substantially all of its
                                         Form) instead.
        assets since May 1, 2010?




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                                         A Start-Up Business is an entity that began operations after November 1, 2008.
                                         Check “No” for this question if your business began operations before November 1,
                                         2008. Check “Yes” if your business began operations on or after November 1, 2008.

                                         If you check “Yes” for this question and your business began operations on
        Is your business a Start-        or after January 1, 2009, stop filling out this Claim Form. If your business’s
12.
        Up Business?                     operations began on or after January 1, 2009, submit the Start-up Business
                                         Economic Loss Claim Form (Gray Form). If your business’s operations began
                                         after November 1, 2008, but before January 1, 2009, you have the option of using
                                         the Business Economic Loss Claim Form (Purple Form) and selecting 2009 as
                                         your Benchmark Period or using the Start-Up Business Economic Loss Claim
                                         Form (Gray Form).
                                         If your business participated in the Vessels of Opportunity (“VoO”) program, you
        Did your business
                                         must check “Yes” for this question. VoO is the program through which BP, or its
        participate in the Vessels
                                         contractors, contracted with vessel owners to assist in Deepwater Horizon Incident
        of Opportunity (“VoO”)
                                         response efforts. If your business did not participate in the VoO program, you must
        program?
                                         check “No” for this question.
        Identify any months after
        the Spill in which your          If your business participated in and received payment from the VoO program, you
        business received                must check the box next to the months for which your business received payments
        revenue from the VoO             and enter the amounts in the fields next to the corresponding months. If your
13.
        program, and the amount          business did not receive any VoO payments, leave these fields blank.
        of that revenue.
        Identify any months after
        the Spill in which your          If your business participated in and incurred expenses because of your participation
        business incurred                in the VoO program, you must check the box next to the months for which your
        expenses because of              business incurred expenses and enter the amounts in the fields next to the
        participation in the VoO         corresponding months. If your business did not incur any expenses because of your
        program, and the amount          VoO participation, leave these fields blank.
        of those expenses.
        Identify other sources of
        income to your business
                                         If the financial information contained in your business’s tax returns differs from the
        that can be used to
14.                                      financial information contained in your business’s financial statements, you must
        reconcile tax returns with
                                         identify any other sources of business income to account for this discrepancy.
        business financial
        statements, if any.
                                         To determine the Economic Loss Zone where your business is located, go online to
        Does your business sell to       www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a
15.     customers in multiple            Claimant Assistance Center. If your business sells to customers located in more than
        Economic Loss Zones?             one Economic Loss Zone, check “Yes.” If your business sells to customers located in
                                         only one Economic Loss Zone, check “No.”




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                                         A Commercial Fisherman is defined as a Natural Person or Entity that (1) holds a
                                         commercial fishing license issued by the United States and/or the State(s) of
                                         Alabama, Florida, Louisiana, Mississippi, and/or Texas, and (2) derives income from
                                         catching and selling Seafood that he or she caught. If both of those things are true,
                                         check “Yes.”

                                         A Landing Site is defined as a business at which boats first land their catch,
                                         including facilities for unloading and handling Seafood. A Landing Site may also
                                         include the provision of ice, fresh water, fuel, and boat repair/service in connection
                                         with the landing of Seafood. If you are in such a business, check “Yes.”

                                         A Commercial Wholesale or Retail Dealer A is defined as an entity or Natural
        Is your business a
                                         Person that (1) holds a commercial wholesale or retailer dealer license issued by the
        Landing Site, Commercial
                                         State(s) of Alabama, Florida, Louisiana, Mississippi, and/or Texas, (2) for which 75%
16.     Wholesale or Retail
                                         or more of the 2009 cost or weight in pounds of the product it purchases constitutes
        Dealer A, or a Primary
                                         Seafood purchased directly from Commercial Fishermen or Landing Sites, and (3) re-
        Seafood Processor?
                                         sells it to Primary Seafood Processors, Seafood Distributors, Seafood Wholesalers and
                                         Seafood Retailers. If all three of those things are true, then check “Yes.”

                                         A Primary Seafood Processor is defined as an entity or Natural Person that
                                         receives and prepares Seafood purchased from a Commercial Fisherman, Landing
                                         Site or Commercial Wholesale or Retail Dealer, including, but not limited to, cleaning,
                                         cooking, canning, smoking, salting, drying or freezing, grading by size, packing, and
                                         storing Seafood for shipment. If you are in such a business, check “Yes.”

                                         If you are not in any of the above businesses, then you must check “No.”




                                         A Commercial Wholesale or Retail Dealer B is defined as an entity or Natural
                                         Person that (1) holds a commercial wholesale or retail dealer license issued by the
                                         State(s) of Alabama, Florida, Louisiana, Mississippi, and/or Texas, (2) for which less
                                         than 75% of the cost or weight in pounds of the product it purchases constitutes
                                         Seafood purchased directly from a Commercial Fisherman or Landing Site, and (3) re-
                                         sells it to Primary Seafood Processors, Seafood Distributors, Seafood Wholesalers and
                                         Seafood Retailers. If all three of those things are true, then check “Yes.”

        Is your business a               A Secondary Seafood Processor is defined as an entity or Natural Person that
        Commercial Wholesale or          purchases Seafood from a Primary Seafood Processor in order to add further value,
        Retail Dealer B, a               including, but not limited to, cleaning, cooking, canning, smoking, salting, drying or
17.     Secondary Seafood                freezing, grading by size, packing, and storing Seafood for shipment. If you are in
        Processor, a Seafood             such a business, check “Yes.”
        Wholesaler or Distributor,
        or a Seafood Retailer?           A Seafood Wholesaler or Distributor is defined as an entity or Natural Person
                                         that purchases Seafood in bulk quantities and sells it to retailers such as restaurants,
                                         fish shops, and supermarkets. If you are in such a business, check “Yes.”

                                         A Seafood Retailer is defined as an entity (1) that is an end user of Seafood, such
                                         as a restaurant, fish market or supermarket, (2) for which 25% or more of total food
                                         costs for 2009 constitute Seafood. If both of those things are true, check “Yes.”

                                         If you are not in any of the above businesses, then you must check “No.”




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                                         Tourism includes businesses that provide services such as attracting, transporting,
                                         accommodating or catering to the needs or wants of persons traveling to, or staying
        Does your business fall
                                         in, places outside their home community. To determine if your business falls within
18.     within the Tourism
                                         the Tourism Definition, go online to www.deepwaterhorizonsettlements.com, call toll
        Definition?
                                         free at 1-866-992-6174, or visit a Claimant Assistance Center. If you are not in one
                                         of those businesses, check “No.”
                                         A Charter Fishing Operation is defined as vessel owners, captains, and deckhands
        Is your business a Charter
19.                                      that carry Passenger(s) for Hire to engage in Recreational Fishing. If you are in such
        Fishing Operation?
                                         a business, check “Yes.” If you are not in such a business, check “No.”
                                         Examples of specific market changes may include: (1) the entry of a competitor in
        Did specific market              2011; (2) the bankruptcy of a significant customer in 2011; (3) nearby road closures
        changes outside your             affecting your Business; (4) unanticipated interruption resulting in closure of your
        control, unrelated to the        Business; (5) the replacement of a product or service by a customer; or (6) the loss
        Spill, and occurring after       of financing and/or reasonable terms of renewal. If one or more of these factors
20.     April 20, 2010, prevent          prevented your business from recovering revenues lost as a result of the Spill, check
        your business from               “Yes.”
        earning revenues in 2011
        that were comparable to          If you check “Yes” for this question, provide a detailed description of the factor(s) in
        pre-Spill periods?               box below Question 22. If no specific market changes prevented your business from
                                         recovering revenues lost as a result of the Spill, check “No.”
                                         A Canceled Contract is a contract that was in place on April 20, 2010, and was to be
                                         performed between April 21, 2010, and December 31, 2010, but was canceled
                                         between April 21, 2010, and December 31, 2010, and that you were unable to
                                         replace on the same or similar terms.

        Did the Spill directly           This question is made up of four parts. It is asking whether: (1) a contract was in
        result in the cancellation       place on April 20, 2010; (2) the contract was to be performed between April 21,
21.     of a contract that your          2010, and December 31, 2010; (3) the contract was canceled between April 21,
        business was unable to           2010, and December 31, 2010; and (4) the business was unable to replace the
        replace?                         contract on the same or similar terms. If all four of those things are true, check
                                         “Yes.” If one or more of those things is untrue, check “No.”

                                         If you check “Yes” for this question, provide a detailed description of the contract
                                         cancellation and the link between its cancellation and the Spill in the box below
                                         Question 21.
                                         A Canceled Reservation is a reservation that was in place on April 20, 2010, and was
                                         to be performed between April 21, 2010, and December 31, 2010, but was canceled
                                         between April 21, 2010, and December 31, 2010, and that you were unable to
                                         replace on the same or similar terms.

                                         This question is made up of four parts. It is asking whether: (1) a reservation was in
        Did the Spill result in
                                         place on April 20, 2010; (2) the reservation was to be performed between April 21,
        reservation cancellations
22.                                      2010, and December 31, 2010; (3) the reservation was canceled between April 21,
        that your business was
                                         2010, and December 31, 2010; and (4) the business was unable to replace the
        unable to rebook?
                                         reservation on the same or similar terms. If all four of those things are true, check
                                         “Yes.” If one or more of those things is untrue, check “No.”

                                         If you check “Yes” to this question, provide a detailed description of the reservation
                                         cancellation and the link between its cancellation and the Spill in the box below
                                         Question 22.




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                                   C. Selection of Benchmark and Compensation Periods
You must make several choices about the calculation of your Business Economic Loss Claim. You must select one historical set
of years for all comparisons throughout the claims process (the Benchmark Period year(s)), and you must select two
Compensation Periods.
                                       Choose one of the periods, which will serve as the baseline for measuring your
                                       business’s historical financial performance. The Claims Administrator will review all
                                       the documents and information you submit to determine the Benchmark Period that
                                       maximizes your ability to establish causation and your recovery, even if that differs
                                       from the period you select. If you do not wish to pick a Benchmark Period at all and
                                       instead would like the Claims Administrator to select your best Benchmark Period,
                                       select “Claims Administrator Selected Benchmark Period.” The Claims Administrator
                                       can only evaluate the documents you submit to determine the best Benchmark
                                       Period. For example, if you only submit 2009 financial documentation, the Claims
  1.    Select Benchmark Period.       Administrator cannot calculate a 2008-2009 or 2007-2009 Benchmark Period. Refer
                                       to the Settlement for further information on how your Benchmark Period will be used
                                       in calculating Total Compensation.

                                          Note that if you are not a business for which causation is presumed, the Claims
                                          Administrator will review all the documents and information you submit to determine
                                          the three-month period that maximizes your ability to establish causation, even if it
                                          differs from your selected Step 1 Compensation Period.

                                          Put a check in the box next to your selected Benchmark Period.
                                          Choose three or more consecutive months from May 2010, through December 2010.
                                          You can check all of the boxes or as little as three. However, all boxes checked must
                                          be consecutive. If you want the Claims Administrator to select the Step 1
                                          Compensation Period, select “Claims Administrator selected Step 1 Compensation
                                          Period.” The Claims Administrator will review all the documents and information you
                                          submit to determine the Step 1 Compensation Period that maximizes your recovery,
                                          even if that differs from the period you select. If you do not wish to pick a Step 1
                                          Compensation Period at all and instead would like the Claims Administrator to select
                                          your best Step 1 Compensation Period, select “Claims Administrator Selected Step 1
                                          Compensation Period.”        If you are eligible for compensation, a different
                                          Compensation Period may be selected to determine your Total Compensation. The
         Select Step 1                    Claims Administrator can only evaluate the documents you submit to determine the
  2.
         Compensation Period.             best Step 1 Compensation Period. For example, if you only submit May-July 2010
                                          financial documentation, the Claims Administrator cannot calculate August-October
                                          2010 Step 1 Compensation Period. Refer to the Settlement for further information on
                                          how your business’s Step 1 Compensation Period will be used in calculating Total
                                          Compensation.

                                          Note that if you are not a business for which causation is presumed, the Claims
                                          Administrator will review all the documents and information you submit to determine
                                          the three-month period that maximizes your ability to establish causation, even if it
                                          differs from your selected Step 1 Compensation Period.

                                          Put a check in the box next to your selected Step 1 Compensation Period.




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                                          Choose one of the periods, which will serve as your business’s Step 2 Compensation
                                          Period. If your business is eligible for compensation, the Step 2 Compensation Period
                                          you select will be used to determine your business’s Total Compensation. The Claims
                                          Administrator will review all the documents and information you submit to determine
                                          the Step 2 Compensation Period that maximizes your recovery, even if that differs
                                          from the period you select. If you do not wish to pick a Step 2 Compensation Period
                                          at all and instead would like the Claims Administrator to select your best Step 2
                                          Compensation Period, select “Claims Administrator Selected Step 2 Compensation
                                          Period.” The Claims Administrator can only evaluate the documents you submit to
         Select Step 2                    determine the best Step 2 Compensation Period. For example, if you only submit
  3.
         Compensation Period.             May-October 2010 financial documentation, the Claims Administrator cannot calculate
                                          July-December 2010 Step 2 Compensation Period. Refer to the Settlement for further
                                          information on how your business’s Step 2 Compensation Period will be used in
                                          calculating Total Compensation.

                                          NOTE: If you select a seven-consecutive-month or eight-consecutive-month period
                                          for your Step 1 Compensation Period in Question 2, that same period of consecutive
                                          months in 2010 shall be used as your Step 2 Compensation Period.

                                          Put a check in the box next to your selected Step 2 Compensation Period.
                        D. Documentation Required for a Business Economic Loss Claim
You are required to submit Supporting Documentation with your Claim Form. The documentation requirements can be found
in Section 4 of this Instructions Booklet. If you do not submit the required documents, the Claims Administrator will not be
able to review your claim and you may not be compensated for any losses.
                                                          E. Payment
                                          Only answer Question E.1 if you have your own attorney. If an attorney is
                                          representing you in connection with your Spill-related lawsuit or claim, the Claims
         If You Have Your Own
  1.                                      Administrator will make payments to both you and your attorney. If you agree to
         Attorney
                                          this, you do not need to do anything. If you would rather the Claims Administrator
                                          make payments only to your attorney, check the box.
         If You Do Not Have Your
  2.                                      If you are not represented by an attorney, you must read Item 2 carefully.
         Own Attorney
         Garnishments, Liens, and         Garnishments, liens and other attachments to your claim will be deducted from any
  3.
         other Attachments                payment you receive.
                                          All claimants must submit a W-9 Form. To obtain a copy of that form, go to
  4.     W-9 Form Requirement             www.deepwaterhorizonsettlements.com, or request one at a Claimant Assistance
                                          Center or by calling 1-866-992-6174.
         Do you intend to seek            Check “Yes” if you intend to seek reimbursement for Claimant Accounting Support
         reimbursement for                Services in connection with your claim. If you check “Yes,” you must submit the
         Claimant Accounting              documents listed in Section 4.E of this Instructions Booklet.
  5.
         Support Services in
         connection with your             Check “No” if you do not intend to seek reimbursement for Claimant Accounting
         claim?                           Support Services.




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                    4. Documentation Required for a Business Economic Loss Claim
Review the claimant categories below and find the sections that best fit the answers you provided on your Claim Form. The
documents listed in the applicable sections are required for an evaluation of your claim. You may use the checkboxes next to
the document descriptions to keep track of what you need to submit.
                                                    Claimant Categories
A. All Claimants. All Claimants must submit the documents in this Section.

B. Claimants Submitting a Claim for a Multi-Facility Business. Claimants who check “Yes” for Claim Form Question 6
   must submit the documents in this Section.

C. Retail and Lodging Claimants. Retail and Lodging Claimants must submit the documents in this section.

D. Claimants Not Entitled to Causation Presumption. Claimants who are not entitled to the Causation Presumption
   must submit the documents in this section.

E. Claimants Seeking Reimbursement for Claimant Accounting Support Services. Claimants seeking
   reimbursement for Claimant Accounting Support Services must submit the documents in this section.
                                  A. Documents Required of all Business Claimants
Basic business documents required for all Business Economic Loss Claims are listed here. Additional documents may be
required based on choices you made when filling out the Claim Form or to provide necessary detail or explanation during the
claims process.
         (1) Federal tax returns (including all schedules and attachments) for the years that cover your claimed Benchmark
             Period (2009, 2008-2009, or 2007-2009), federal tax returns for 2010, and, if applicable, 2011 (see Section 4.D
             below). These federal tax returns must include:

                 (a) Complete federal tax return and the applicable supporting documentation;
                 (b) For self employed individuals, provide Form 1040, pages 1 and 2, along with Schedules C, D, E, and F,
                     and Form 1099, if applicable.
         (2) Monthly and annual profit and loss statements (which identify individual expense line items and revenue
             categories), or alternate source documents establishing monthly revenues and expenses for the claimed
             Benchmark Period, 2010, and, if applicable, 2011. Profit and loss statements must identify the dates on which
             they were created. Upon agreement of the Parties on 9/17/12, annual profit and loss statements are not required
             if 12 monthly profit and loss statements are provided. These documents must reconcile with the tax returns
             supplied in (1).
         (3) Documents reflecting the business structure and ownership of the business claimant, including but not limited to
             Articles of Incorporation, shareholder list(s), and partnership or limited partnership agreements.
         (4) Any applicable federal, state, or local government license required to operate your business for your claimed
             Benchmark Period, 2010, and, if applicable, 2011 (see Section 4.D below), such as a commercial/recreational
             fishing license, real estate license, occupancy license (lodging, including hotel and condo), or business or
             occupational license, such as a restaurant, bar, taxi/livery, or service license or permit. (Upon agreement of the
             Parties, the Claims Administrator removed this document requirement on 9/17/12.)
         (5) Documentation of payments received or costs incurred from your business’s participation in the VoO program,
             payments received from BP as part of its OPA claims process, payments from the GCCF, and any other sources of
             income that can be used to reconcile tax returns with business financial statements, if you have received any
             such payments.
         (6) W-9 Form. To obtain a copy of your W-9 Form, go to www.deepwaterhorizonsettlements.com, or request one at
             a Claimant Assistance Center or by calling 1-866-992-6174. If you are making multiple claims under the
             Settlement, you only need to submit the W-9 Form once.




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          B. Documents Required for a Claimant Submitting a Claim for a Multi-Facility Business

If your business is a Multi-Facility Business that fits one of the following descriptions, provide the documents listed below the
applicable description. If your business does not fit any of the following descriptions, provide the additional documentation
listed on the following page.
         (1) Your Multi-Facility Business has its headquarters and all of its Facilities located within the Gulf Coast Areas, and
             maintained separate contemporaneous profit and loss statements for each Facility during the Benchmark Period
             and 2010.

         Submit:
                 (a) Separate profit and loss statements that were prepared and maintained in the normal course of business
                     for each Facility during the Benchmark Period and 2010, and
                 (b) A chart or description detailing all Facilities included in the Multi-Facility Business. Check the box next to
                     the applicable description.
         (2) Your Multi-Facility Business has its headquarters and all of its Facilities located within the Gulf Coast Areas, and
             did not maintain separate contemporaneous profit and loss statements for each Facility during the Benchmark
             Period and 2010, and you choose to file a consolidated claim.

         Submit:
                  (a) Consolidated profit and loss statements that were prepared and maintained in the normal course of
                      business for all Facilities during the Benchmark Period and 2010; and
                  (b) A chart or description detailing all Facilities included in the Multi-Facility Business. Check the box next to
                      the applicable description.
         (3) Your Multi-Facility Business has its headquarters located within the Gulf Coast Areas, has one or more Facilities
             located outside of the Gulf Coast Areas, and maintained separate contemporaneous profit and loss statements for
             each Facility during the Benchmark Period and 2010, and you choose to file separate claims for one, some, or all
             of its Facilities.

         Submit:
                 (a) Separate profit and loss statements that were prepared and maintained in the normal course of business
                     for each Facility during the Benchmark Period and 2010, and
                 (b) A chart or description detailing all Facilities included in the Multi-Facility Business. Check the box next to
                     the applicable description.
         (4) Your Multi-Facility Business has its headquarters located outside of the Gulf Coast Areas and maintained separate
             contemporaneous profit and loss statements for each Facility in the Gulf Coast Areas during the Benchmark
             Period and 2010, and you choose to file separate claims for one, some, or all of its Facilities located within the
             Gulf Coast Areas.

         Submit:
               (a) Separate profit and loss statements that were prepared and maintained in the normal course of business
                   for each Facility during the Benchmark Period and 2010, and
               (b) A chart or description detailing all Facilities included in the Multi-Facility Business. Check the box next to
                   the applicable description.




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All other Multi-Facility Businesses must provide the following:
          (1) A chart or description detailing all Facilities included in the Multi-Facility Business;
          (2) Consolidated financial statements specifying profit and loss for all Facilities and detailing eliminating entries;
          (3) A Sworn Written Statement that separate profit and loss statements for each of the claiming Facilities do not
              exist, and individual Facility profit and loss statements prepared for the purpose of filing a claim are based on the
              business’s books and records;
          (4) A listing of all intercompany transactions between Facilities included in the Multi-Facility Business;
          (5) A listing of all shared costs between Facilities of the Multi-Facility Business and the calculations used to allocate
              those expenses between Facilities. Where a Multi-Facility Business prepares individual Facility profit and loss
              statements based on its books and records to support a claim, all shared costs shall be allocated among all
              Facilities based on each Facility’s share of the total revenue of the Multi-Facility Business.

          To obtain a copy of the Business Economic Loss Additional Multi-Facility Business Documentation
          Sworn Written Statement (SWS-27), go to www.deepwaterhorizonsettlements.com, call toll free at 1-
          866-992-6174, or visit a Claimant Assistance Center.
                            C. Documents Required for Retail and Lodging Claimants

Any business that falls within any of the specific business types listed below must submit the following additional documents for
the claimed Benchmark Period years and 2010. Submit the documents required for the business type that applies to your
business and check the box to indicate that you are submitting the required documents.

            (1)   Retail: provide monthly sales and use tax returns;

            (2)   Lodging (includes hotels, motels, and vacation rental properties): Provide (1) lodging tax returns
                  unless the property is managed by a property management company in which case these returns are not
                  required; (2) occupancy reports or historical rental records, on a per unit basis if available, unless the
                  property is managed by a property management company in which case these records are not required; (3)
                  for properties rented through a property management company, 1099s for the subject rental property, and
                  monthly or annual statements for the subject property as generated by the management company; and (4)
                  documentation to identify how the rental property is managed, such as management contract from a third
                  party management company or a Sworn Written Statement from an owner that manages its own property.

         To obtain a copy of the Business Economic Loss Property Owner-Manager Sworn Written Statement
         (SWS-22), go to www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a
         Claimant Assistance Center.




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                          D. Causation Tests and Additional Document Requirements

Businesses must demonstrate the connection between the Spill and their economic results. This connection is
presumed for certain industries and geographic locations, or may be proven several different ways.

(a) Business Entitled to the Causation Presumption: If your business meets any of the following descriptions, it is
    entitled to the Causation Presumption. Check the box next to the description that applies to your business.


           (1) The business is located in Economic Loss Zone A.

           (2) The business is a Commercial Fisherman, Landing Site, Commercial Wholesale or Retail Dealer A, or Primary
               Seafood Processor as set forth in the Seafood Distribution Chain Definitions as set forth in Section 2 of this
               Instructions Booklet; or
           (3) The business is located in Economic Loss Zones A, B, or C and is a Commercial or Wholesale or Retail Dealer
               B, a Secondary Seafood Processor, a Seafood Wholesaler or Distributor, or a Seafood Retailer as set forth in
               the Seafood Distribution Chain Definition in Section 2 of this Instructions Booklet; or
           (4) The business is located in Economic Loss Zones A or B and meets the Tourism Definition as set forth in
               Section 2 of this Instructions Booklet; or
           (5) The business is located in Economic Loss Zones A, B, or C and meets the Charter Fishing Definition as set
               forth in Section 2 of this Instructions Booklet.
If your business does not fit any of the above descriptions, then it is not entitled to the Causation Presumption and you must
submit additional documentation to prove that the Spill was the cause of your business’s economic losses. The documentation
required depends on which method your business is able to use to prove causation. These methods allow proof of causation
by:
    (1) Revenue Pattern; or
    (2) Spill-Related Cancellations; or
    (3) Close Proximity to another Settlement Program business claimant that has established causation; or
    (4) Additional proof if the business is a Seafood Retailer in Economic Loss Zone D.

Causation Proven by Revenue Pattern. The Settlement explains how claimants who are not entitled to the Causation
Presumption may nevertheless establish causation by meeting one of three different types of Revenue Patterns and submitting
the required proof, as applicable. The following table summarizes what satisfies each of the Revenue Patterns.

         All businesses not entitled to the Causation Presumption must submit 2011 federal tax returns.




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                                   If Your Business is located in                  If Your Business is located in
  Revenue Pattern
                                    Economic Loss Zone B or C                          Economic Loss Zone D
                            Businesses that show a decline of an            Businesses that show a decline of an
                            aggregate of 8.5% or more in total revenues     aggregate of 15% or more in total revenues
                            over a period of three consecutive months       over a period of three consecutive months
                            between May 2010 and December 2010              between May 2010 and December 2010
V-Shaped Revenue            compared to the same months in their            compared to the same months in their
Pattern                     chosen Benchmark Period and a later             chosen Benchmark Period and a later
                            increase of an aggregate of 5% or more in       increase of an aggregate of 10% or more in
                            total revenues over the same period of three    total revenues over the same period of three
                            consecutive months in 2011 compared to          consecutive months in 2011 compared to
                            2010.                                           2010.
                            Businesses with total business revenue          Businesses with total business revenue
                            showing a decline of an aggregate of 5% or      showing a decline of an aggregate of 10% or
                            more in total revenues over a period of three   more in total revenues over a period of three
                            consecutive months between May 2010 and         consecutive months between May 2010 and
                            December 2010 compared to the same              December 2010 compared to the same
Modified V-Shaped
                            months in their chosen Benchmark Period         months in their chosen Benchmark Period
Revenue Pattern
                            and a later increase of an aggregate of 5%      selected by the claimant and a later increase
                            or more in total revenues over the same         of an aggregate of 7% or more in total
                            period of three consecutive months in 2011      revenues over the same period of three
                            compared to 2010.                               consecutive months in 2011 compared to
                                                                            2010.
                            Businesses that show (a) a decline of an        Businesses that show a (a) decline of an
                            aggregate of 8.5% or more in revenues over      aggregate of 15% or more in revenues over
                            a period of three consecutive months            a period of three consecutive months
                            between May 2010 and December 2010              between May 2010 and December 2010
                            compared to the same months in their            compared to the same months in their
                            chosen Benchmark Period selected by the         chosen Benchmark Period selected by the
                            claimant, and (b) documentation identifying     claimant without a recovery in the
                            factors outside the control of the claimant     corresponding months of 2011 and (b)
Decline-Only Revenue
                            that prevented the recovery of revenues in      documentation identifying factors outside the
Pattern
                            2011 and (c) one of the following: (1) proof    control of the claimant that prevented the
                            of a decline of 10% in the share of total       recovery of revenues in 2011 and (c) one of
                            revenue for non-local customers, or (2) proof   the following: (1) proof of a decline of 10%
                            of a decline of 10% in the share of total       in the share of total revenue for non-local
                            revenue for customers in Economic Loss          customers, or (2) proof of a decline of 10%
                            Zones A, B, and C, or (3) proof of Spill-       in the share of total revenue of customers in
                            related cancellations.                          Economic Loss Zones A, B, and C, or (3)
                                                                            proof of Spill-related cancellations.




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Businesses Located in Economic Loss Zones B or C Satisfying Causation Based on Revenues: Any business not
entitled to the Causation Presumption and located in Economic Loss Zones B or C may qualify for compensation where
revenue fluctuations demonstrate a Spill-related effect. Identify the test below that applies to your business and provide the
requisite documentation to satisfy the test.

(b) V-Shaped Revenue Pattern: If your business satisfies a V-Shaped Revenue Pattern, and your loss occurred in
    Economic Loss Zones B or C, submit the following:

            (1) Monthly financial statements or other documentation proving an aggregate decline of 8.5% or more in total
                revenues over a period of three consecutive months between May 2010 and December 2010 compared to the
                same months in the Benchmark Period selected by the claimant; and
            (2) Monthly financial statements or other documentation proving an increase of an aggregate of 5% or more in
                total revenues over the same period of three consecutive months in 2011 compared to 2010.
(c) Modified V-Shaped Revenue Pattern: If your business satisfies a Modified V-Shaped Revenue Pattern, and
    your loss occurred in Economic Loss Zones B or C, submit the following:
            (1) Monthly financial statements or other documentation proving an aggregate decline of 5% or more in total
                revenues over a period of three consecutive months between May 2010 and December 2010 compared to the
                same months in the Benchmark Period selected by the claimant; and
            (2) Monthly financial statements or other documents proving an increase of an aggregate of 5% or more in total
                revenues over the same period of three consecutive months in 2011 compared to 2010.
In addition, check the box next to one or more of the following tests and provide the associated
documentation:
            (3) Non-local Customer Test: Provide monthly financial statements or other documentation proving a decline
                of 10% in the share of total revenue generated by Non-local Customers (customers who reside more than
                60 miles from your business’s location) over the same period of three consecutive months from May-
                December 2010 as selected by claimant compared to the same three consecutive month period in 2009, as
                documented by:

                  (a) Customer credit card receipts or other contemporaneously-maintained records of payment; or
                  (b) Customer registration logs (e.g., hotel registries); or
                  (c) Documentation maintained in the ordinary course of business that lists customers by location and
                      monthly sales associated with those customers; or
                  (d) Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                      location.
            (4) Customers in Economic Loss Zones A, B or C Test: If your business has customers in Economic Loss
                Zones A, B, or C, provide monthly financial statements or other documentation proving a decline of 10% in
                the share of total revenue generated by customers located in Economic Loss Zones A, B, and C over the same
                period of the three consecutive months from May 2010 to December 2010 as selected by claimant compared
                to the same three consecutive month period in 2009, as documented by one of the following:

                  (a) Customer credit card receipts or other contemporaneously maintained records of payment; or
                  (b) Customer registration logs (e.g., hotel registries); or
                  (c) Documentation maintained in the ordinary course of business that lists customers by location and
                      monthly sales associated with those customers; or
                  (d) Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                      location.

            (5) Contract Cancellation: Provide contemporaneous written evidence of the cancellation of a contract as a
                direct result of the Spill that your business was not able to replace. Such evidence only establishes causation
                for the specific contract.




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   (d) Decline-Only Revenue Pattern: If your business satisfies a Decline-Only Revenue Pattern, and your loss
       occurred in Economic Loss Zones B or C, submit the following:

           (1) Monthly financial statements or other documentation proving an aggregate decline of 8.5% or more in
               revenues over a period of three consecutive months between May 2010 and December 2010 compared to the
               same months in the Benchmark Period selected by the claimant; and
           (2) Specific documentation identifying factors outside of your business’s control that prevented the recovery of
               revenues in 2011, such as: the entry of a competitor in 2011; bankruptcy of a significant customer in 2011;
               nearby road closures affecting your business; unanticipated interruption resulting in closure of your business;
               product/service replacement by customer; or loss of financing and/or reasonable terms of renewal; and one of
               the following:
In addition, check the box next to one or more of the following tests and provide the associated
documentation:
           (3) Non-local Customer Test: Monthly financial statements or other documentation proving a decline of 10%
               in the share of total revenue generated by Non-local Customers (customers who reside more than 60 miles
               from your business location) over the same period of three consecutive months from May 2010 to December
               2010 compared to the same three consecutive month period in 2009, as reflected in:

                 (a) Customer credit card receipts or other contemporaneously maintained records of payment; or
                 (b) Customer registration logs (e.g., hotel registries); or
                 (c) Documentation maintained in the ordinary course of business that lists customers by location and
                     monthly sales associated with those customers; or
                 (d) Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                     location.
           (4) Customers in Economic Loss Zones A, B, and C Test: Proof of a decline of 10% in the share of total
               revenue generated for customers in Economic Loss Zones A, B, and C over the same period of three
               consecutive months from May 2010 to December 2010 compared to the same three consecutive month period
               in 2009, as reflected in:

                  (a) Customer credit card receipts or other contemporaneously maintained records of payment; or
                  (b) Customer registration logs (e.g., hotel registries); or
                  (c) Documentation maintained in the ordinary course of business that lists customers by location and
                      monthly sales associated with those customers; or
                  (d) Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                      location.
Businesses Located in Economic Loss Zone D Satisfying Causation Based on Revenues: Any business not entitled
to the Causation Presumption and located in Economic Loss Zone D may qualify for compensation where revenue fluctuations
demonstrate a Spill-related effect. Identify the test below that applies to your business and provide the requisite
documentation to satisfy that test.

   (e) V-Shaped Revenue Pattern: If your business satisfies a V-Shaped Revenue Pattern, and your loss occurred in
       Economic Loss Zone D, submit the following:

           (1) Monthly financial statements or other documentation proving an aggregate decline of 15% or more in total
               revenues over a period of three consecutive months between May 2010 and December 2010 compared to the
               same months in the Benchmark Period selected by the claimant; and
           (2) Monthly financial statements or other documentation proving an increase of an aggregate of 10% or more in
               total revenues over the same period of three consecutive months in 2011 compared to 2010.




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   (f) Modified V-Shaped Revenue Pattern: If your business satisfies a Modified V-Shaped Revenue Pattern, and
       your loss occurred in Economic Loss Zone D, submit the following:

          (1) Monthly financial statements or other documentation proving an aggregate decline of 10% or more in total
              revenues over the same period of three consecutive months between May 2010 and December 2010
              compared to the same months in the Benchmark Period selected by the claimant; and
          (2) Monthly financial statements or other documents proving an increase of an aggregate of 7% or more in total
              revenues over the same period of three consecutive months in 2011 compared to 2010.
In addition, check the box next to one or more of the following tests and provide the associated
documentation:
           (3) Non-local Customer Test: Provide monthly financial statements other documentation proving a decline of
               10% in the share of total revenue generated by Non-local Customers (customers who reside more than 60
               miles from your business location) over the same period of three consecutive months from May 2010 to
               December 2010 as selected by claimant compared to the same three consecutive month period in 2009, as
               documented by:

                 (a) Customer credit card receipts or other contemporaneously maintained records of payment; or
                 (b) Customer registration logs (e.g., hotel registries); or
                 (c) Documentation maintained in the ordinary course of business that lists customers by location and
                     monthly sales associated with those customers; or
                 (d) Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                     location.
           (4) Customers in Economic Loss Zones A, B, and C Test: If your business has customers in Economic
               Loss Zones A, B, and C, provide monthly financial statements or other documentation proving a decline of
               10% in the share of total revenue generated by customers located in Economic Loss Zones A, B, and C over
               the same period of the three consecutive months from May – December 2010 as selected by claimant
               compared to the same three consecutive month period in 2009, as documented by one of the following:

                  (a) Customer credit card receipts or other contemporaneously maintained records of payment; or
                  (b) Customer registration logs (e.g., hotel registries); or
                  (c) Documentation maintained in the ordinary course of business that lists customers by location and
                      monthly sales associated with those customers; or
                  (d) Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                      location.
                  (e) Provide contemporaneous written evidence of the cancellation of a contract as a direct result of the
                      Spill that your business was not able to replace.
           (5) Contract Cancellation: Provide contemporaneous written evidence of the cancellation of a contract as a
               direct result of the Spill that your business was not able to replace. Such evidence only establishes causation
               for the specific contract.




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   (g) Decline-Only Revenue Pattern: If your business satisfies a Decline-Only Revenue Pattern, and your loss
       occurred in Economic Loss Zone D, submit the following:
           (1) Monthly financial statements or other documentation proving an aggregate decline of 15% or more in total
               revenues over a period of three consecutive months between May-December 2010 compared to the same
               months in the Benchmark Period selected by the claimant without a recovery in the corresponding months of
               2011; and
           (2) Specific documentation identifying factors unrelated to the Spill, occurring after April 20, 2010 and outside
               your control that prevented the recovery of revenues in 2011, such as: the entry of a competitor in 2011;
               bankruptcy of a significant customer in 2011; nearby road closures affecting your business; unanticipated
               interruption resulting in closure of your business; product/service replacement by customer; or loss of
               financing and/or reasonable terms of renewal; and one of the following.
In addition, check the box next to one or more of the following tests and provide the associated
documentation:
           (3) Non-local Customer Test: Provide monthly financial statements other documentation proving a decline of
               10% in the share of total revenue generated by Non-local Customers (customers who reside more than 60
               miles from your business location) over the same period of three consecutive months from May 2010 t0
               December 2010 as selected by claimant compared to the same three consecutive month period in 2009, as
               documented by:

                  (a)   Customer credit card receipts or other contemporaneously maintained records of payment; or
                  (b)   Customer registration logs (e.g., hotel registries); or
                  (c)   Documentation maintained in the ordinary course of business that lists customers by location and
                        monthly sales associated with those customers; or
                  (d)   Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                        location.
           (4) Customers in Economic Loss Zones A, B, and C Test: If your business has customers in Economic
               Loss Zones A, B, and C, provide monthly financial statements or other documentation proving a decline of
               10% in the share of total revenue generated by customers located in Economic Loss Zones A, B, and C over
               the same period of the three consecutive months from May 2010 to December 2010 as selected by claimant
               compared to the same three consecutive month period in 2009, as documented by one of the following

                  (a)   Customer credit card receipts or other contemporaneously maintained records of payment; or
                  (b)   Customer registration logs (e.g., hotel registries); or
                  (c)   Documentation maintained in the ordinary course of business that lists customers by location and
                        monthly sales associated with those customers; or
                  (d)   Business documents reflecting contemporaneous recording of receipts or invoices listing customers by
                        location.
                  (e)   Provide contemporaneous written evidence of the cancellation of a contract as a direct result of the
                        Spill that your business was not able to replace.

   (h) Seafood Retailer in Economic Loss Zone D Showing Profit Decline: A business claimant that meets the
       definition of a Seafood Retailer and is located in Economic Loss Zone D may also prove causation by submitting both
       of the following:

               (1) Receipts or other purchasing documentation proving that purchase of Gulf of Mexico harvested seafood
                   from vendors located in Economic Loss Zones A, B, or C represented at least 10% of food costs during
                   2009, as reflected in historical purchase orders and/or invoices; and
               (2) Monthly financial statements or other documentation proving a decline of 7.5% in gross profit (gross sales
                   less cost of goods sold) over a period of three consecutive months between May 2010 and December 2010
                   compared to the same months in 2009.




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Businesses in Economic Loss Zones B, C, or D Spill-Related Cancellations or Proxy Claimant: Any business not
entitled to the Causation Presumption and located in Economic Loss Zones B, C or D may qualify for compensation where the
claimant can provide proof of causation through Spill-related cancellations.
   (i) Economic Loss Zones B, C, or D Spill Related Cancellations: Any business which is not entitled to the causation
       presumption may also prove causation for Spill-related contract and reservation cancellations and be compensated for
       losses related to those cancellations. Two types of proof may be submitted, check the type which you are submitting:
           (1) Contemporaneous written evidence of Spill-related reservation cancellations (i.e., letters, emails, hotel logs for
               the relevant time, or a Sworn Written Statement from an independent third party citing the Spill as the reason
               for cancellation) that the claimant was unable to rebook, together with copies of all corresponding contracts
               The reservation must have been in place on April 20, 2010, and was to be performed between April 21, 2010,
               and December 31, 2010, but was canceled between April 21, 2010, and December 31, 2010; or

          To obtain a copy of the Business Economic Loss Spill-Related Reservation Cancellation Third Party
          Sworn Written Statement (SWS-20), go to www.deepwaterhorizonsettlements.com, call toll free at
          1-866-992-6174, or visit a Claimant Assistance Center.
           (2) Contemporaneous written evidence of the cancellation of a contract as a direct result of the Spill that claimant
               was not able to replace, together with copies of all corresponding contracts. In the absence of
               contemporaneous written evidence, the claimant must present a Sworn Written Statement from an
               independent third party affirming that the cancellation was Spill-related. The contract must have been in
               place on April 20, 2010, and was to be performed between April 21, 2010, and December 31, 2010, but was
               canceled between April 21, 2010, and December 31, 2010; and

           To obtain a copy of the Business Economic Loss Spill-Related Contract Cancellation Third Party
           Sworn Written Statement (SWS-21), go to www.deepwaterhorizonsettlements.com, call toll free at
           1-866-992-6174, or visit a Claimant Assistance Center.
In addition, you must also submit the following documentation:
           (3) Contemporaneous evidence that the Canceled Contract or Reservation was not replaced. If no such
               documentation exists, the claimant may provide a Sworn Written Statement (1) stating that no such
               contemporaneous written evidence exists, (2) describing the claimant’s efforts to replace the Canceled
               Contract or Canceled Reservation, and (3) describing the extent to which the claimant was not able to replace
               the Canceled Contract or Canceled Reservation; and

           To obtain a copy of the Business Economic Loss Non-Replaced Spill-Related Reservation or Contract
           Cancellation Claimant Sworn Written Statement (SWS-26), go to
           www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a Claimant
           Assistance Center.
           (4) Documentation establishing revenue (including any food, beverage, or other ancillary revenue) expected in
               connection with that Canceled Contract and/or Canceled Reservation and one of the following:
                 (a) Documentation establishing variable expenses (including any variable expenses related to any food,
                        beverages or other ancillary revenues) incurred in connection with prior events which were
                        comparable in terms of type, size, and revenue and took place after January 1, 2007; or
                 (b) Documentation establishing the total revenue and total variable expense for the claimant’s business
                        for the period May 1, 2009, through December 31, 2009; and
           (5) Documentation establishing any cancellation fees, non-refundable deposits, or other amounts received by the
               claimant in connection with the cancellation; and
           (6) Listing of any liquidation or salvage value of any remaining inventory related to the cancellation which remains
               unsold as of the claim filing date; and
           (7) Details regarding any Replacement Contract(s) or Replacement Reservation(s), if relevant. Include copies of
               relevant Replacement Contracts and Replacement Reservations stating the terms of each contract and
               documents establishing projected and actual revenues and variable expenses related to each Replacement
               Contract or Replacement Reservation.          Provide the basis for such amounts and any corresponding
               documentation.



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   (j) Economic Loss Zones B, C and D Proxy Claimant: A business claimant with an annual revenue of $75,000 or
       less that is not entitled to the Causation Presumption may also prove causation by submitting proof that it is on a
       property that is in close proximity to the property of a separate business claimant in the Settlement Program that has
       established causation (“Causation Proxy Claimant”). Claimants with an annual revenue of $75,000 or less seeking to
       establish causation on the basis of a Causation Proxy Claimant must provide all of the following documentation:
           (1) A Sworn Written Statement from the claimant documenting the following:
                  (a) Contact information and verification of status in the Settlement Program of the Causation Proxy
                      Claimant to be used by the claimant to satisfy causation; and
                  (b) Information sufficient for the Claims Administrator to determine that a causal relationship exists
                      between the claimant’s financial performance and the financial performance of the Causation Proxy
                      Claimant; and
                  (c) Proximity of the claimant to the Causation Proxy Claimant (must be within 100 yards for Non-Rural
                      Claimants and within one-quarter mile for Rural Claimants).

          To obtain a copy of the Business Economic Loss Proximity to Another MDL 2179 Business Claimant
          Sworn Written Statement (SWS-23), go to www.deepwaterhorizonsettlements.com, call toll free at
          1-866-992-6174, or visit a Claimant Assistance Center.
           (2) A Sworn Written Statement from the Causation Proxy Claimant authorizing the claimant’s use of the Causation
               Proxy Claimant’s documentation to satisfy causation.

           To obtain a copy of the Business Economic Loss Causation Proxy Claimant Sworn Written Statement
           (SWS-24), go to www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a
           Claimant Assistance Center.
   E. Documents Required for Claimants Seeking Reimbursement for Claimant Accounting Support
                                            Services
All claimants seeking reimbursement for Claimant Accounting Support Services must submit the following documents:
           (1) Claimant Accounting Support Sworn Written Statement.

          To obtain a copy of the Claimant Accounting Support Sworn Written Statement (SWS-38), go to
          www.deepwaterhorizonsettlements.com, call toll free at 1-866-992-6174, or visit a Claimant
          Assistance Center.
           (2) Time sheet prepared by the claimant’s accountant itemizing the following to establish the reasonableness of
               the Claimant Accounting Support Services fees:
                  (a) Date;
                  (b) Person performing the work; and
                  (c) Billing rate of the person performing the work.




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                                           5. Claimant Assistance Centers

         ALABAMA                           FLORIDA                          LOUISIANA                 MISSISSIPPI
Bayou La Batre                    Apalachicola                        Cut Off                   Bay St. Louis
13290 N. Wintzell Avenue          194 14th Street                     16263 E. Main Street      1171 Highway 90
Bayou La Batre, AL 36509          Suite 106                           Tarpon Heights Shopping   Bay St. Louis, MS 39520
                                  Apalachicola, FL 32320              Center
Gulf Shores                                                           Unit 2                    Biloxi
Palm South Plaza                  Clearwater                          Cut Off, LA 70345         15812 Lemoyne Boulevard
3501 Gulf Shores Parkway          2551 Drew Street                                              Biloxi, MS 39532
Suites 4, 5, and 6                Suite 303                           Grand Isle
Gulf Shores, AL 36542             Clearwater, FL 33765                3811 LA 1
                                                                      Grand Isle, LA 70358
Mobile                            Fort Walton Beach
Skyland Shopping Center           348 Miracle Strip S.W.              Gretna/Harvey
3976 B Government Road            Parkway                             2701 Manhattan Blvd.
Mobile, AL 36693                  Suite 34                            Suite 12                           TEXAS
                                  Fort Walton Beach, FL               Harvey, LA 70058
                                  32548                                                         Bridge City
                                                                      Houma                     2017 Texas Ave.
                                  Naples                              814 Grand Caillou Road    Bridge City, TX 77611
                                  14700 Tamiami Trail N               Suites 2 & 3
                                  Rt. 41                              Houma, LA 70363
                                  Naples, FL 34110
                                                                      Lafitte
                                  Panama City Beach                   2654 Jean Lafitte
                                  7938 Front Beach Road               Lafitte, LA 70067
                                  Panama City Beach, FL
                                  32408                               New Orleans East
                                                                      9671 Chef Menteur Hwy.
                                  Pensacola                           New Orleans, LA 70127
                                  7555 Hwy 98 West
                                  Suites 3 & 4
                                  Pensacola, FL 32506




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